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STATEMENT OF ACCOUNT
RAY QUINNEY & NEBEKER

A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road April 10, 2007
Las Vegas, NV 89121 Invoice No. 360305

For Legal Services Rendered Through March 12, 2007
Thomas J. Allison
Matter No. 34585-00012
Plan and Disclosure Statement
03/01/07 P Hunt 6.00 Attend bankruptcy court hearing regarding stay
motion/implementation (5.5); analysis of
implementation of order issues (.5).

03/01/07 A Jarvis .30 Correspondence on appellate brief.

03/01/07 A Jarvis .40 Review regarding order on 1142 motion,
, effective date issues.

03/01/07 A Jarvis .20 Correspondence regarding order on 1142 motion.

03/01/07 B Kotter .60 Work on appellate briefing issues (.2);
follow-up regarding appeal issues (.4).

03/01/07 BE Monson .30 Draft e-mail to L. Schwartzer and J.
McPherson regarding documents responsive to
D. Bunch requests for production of documents
and facilitate bate stamping of documents.

03/01/07 E Monson .20 Draft additional e-mail regarding motion to
dismiss Bunch appeal and discussion with A.
W. Jarvis and P. Hunt regarding same.

03/01/07 E Monson .30 Review numerous e-mails and declarations in
support of motion for stay pending appeal.

Client
Debtor

03/01/07

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03/02/07

03/02/07

No. 34585
USA Commercial Mortgage Co., et al.

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Wride

Hurst

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Okerlund

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Page: 2
April 10, 2007

Review appellees opening brief as filed in
appeal of confirmation order (0.4).

Review and analysis of new, late-filed
declarations of D. Cangelosi and various other
direct lenders in support of motion to stay
implementation of Plan (0.8).

Review regarding courts ruling today on plan
implementation motion and proposed order needed
(0.3); review motion and Reserve Notices filed
in connection therewith (0.4); draft and revise
proposed order on second plan implementation
motion (1.9); email same to debtors and
committees counsel for review (0.1).

Review "Effective Date" timing issues and
provisions of plan implementation motion and
proposed order thereon regarding same (0.4).

Analysis of appellants standing and related
Rule 2019 issues (0.7).

Follow up on filing of appellate brief (.3);
correspondence with counsel (.3); organize
inaterials for use at oral argument (2.1).

Preparing case cite notebooks from appeal
briefs. ,

Review documents for D. Bunch production; begin
bates labeling of same.

Check docket and documents regarding status
of hearings; prepare cases cited in Brief of
Appellees.

Prepare documents for production.
Correspondence with BE. Karasik regarding LPG

stay motion order (.3); comment on 1142 order
proposal (.2); review appeal files (2.5); email

‘to L. Dorsey regarding LPG appeal documents

(.1); conference with S. Freeman regarding
Bunch appeal issues (.1).

Revise language in order on 1142 motion.

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Client No. 34585

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Debtor USA Commercial Mortgage Co., et al. April 10, 2007

03/02/07 A Jarvis
03/02/07 A Jarvis

03/02/07 D Monson

03/02/07 E Monson

03/02/07 S Strong

03/05/07 P Hunt

‘03/05/07 A Jarvis

03/05/07 A Jarvis

03/05/07 A Jarvis

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Correspondence on 1142.
Review order on dismissal of IP appeal.

Phone call from Vineyard Bank on effective date
of Confirmed Plan (0.2).

Discussions with C. Hurst regarding sending
out D. Bunch documents to Schwartzer &
McPherson and revise letter.

Review and analyze comments from-committees on
proposed order on second plan implementation
motion (0.6); review Effective Date provision
in same and draft revised language for same
(0.5); email to committees and UST regarding
revised Effective Date language for same (0.2);
review follow-up emails regarding same (0.3);
revise and prepare final draft of proposed
order regarding second plan implementation
motion (0.4); circulate same to committees and
ust for final sign-off (0.1); review approvals
received for same and forward to local counsel
for filing (0.3).

Draft order regarding LPG stay motion (1.1);
analyze issues related to order dismissing IP
appeal and need for conference with S. Freeman
on appeal work division (.1); email to S.
Freeman regarding same (.1); pull district’
court hearing transcript on IP appeal order of
dismissal and mark same (.1); conference with
A. W. Jarvis and S. Freeman regarding
transcript of appeal and claim issues (.6);
read IP motion to dismiss appeal and revise
order regarding same (.9); review hearing books
to gather all documents necessary for reference
in LPG stay order (.4); finalize LPG stay order”
with same (.3).

Telephone conference with P. Hunt and 8.
Freeman regarding appeals.

Correspondence on plan effective date.

Review plan documents regarding effective
date.

Client

Debtor

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No. 34585
USA Commercial Mortgage Co., et al.

A Jarvis

Jarvis
Jarvis

Hurst

P Hunt

Jarvis

Jarvis

Jarvis

Jarvis

BE Monson

S Strong

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Page: 4
April 10, 2007

Review and revise orders on appeals and
correspondence regarding same.

Correspondence on reserves.
Correspondence on effective date.

Download LPG investor declarations and update
working binder for P. Hunt (2.0); e-mails
with Schwartzer and McPherson and follow-up
on 3/1/07 hearing transcript and transmit
deposit check (.4); download Lexis cases
cited in Appellee’s LPG Brief (.6).

Finalize LPG/FP orders with A. W. Jarvis’
comments (.3); email to Committees regarding
same (.1); analysis of work projects/LPG issues
(.1); read emails from committee counsel on
IP/LPG orders (.3); respond to same (.1); read
emails from Committee counsel on proposed
orders and respond to-same (.4).

Correspondence on Effective Date.

Draft response on reasons for dismissal of
appeal of IP.

Draft comments to Order dismissing IP appeal.

Correspondence with client and with
committees regarding Effective Date issues.

Review e-mails and solicitation information
from the Lender Protection Group.

Review email from M. Tucker and D. Cangelosis
latest solicitation letter to direct lenders
regarding appeal from confirmation order and
new efforts to obtain stay (0.3); review and
analysis of information on LPGs website
regarding same, including form of "power of
attorney" being solicited by LPG for appeals
(0.8). :

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Debtor USA Commercial Mortgage Co., et al. April 10, 2007

03/06/07 S Strong .50 Review email from R. Charles regarding
Effective Date issues (0.1); exchange emails
with A. W. Jarvis, S. Smith and P. Hunt
regarding same (0.1); review relevant language
of Liquidating Trust Agreement regarding same
(0.3).

03/07/07 P Hunt .60 Research for A. W. Jarvis regarding
implementation issues and the Effective Date
(.3); correspondence with A. W. Jarvis
regarding same (.3).

03/07/07 A Jarvis .20 Correspondence on order dismissing IP appeal.

03/07/07 A Jarvis .40 Telephone conference with R. Koe and T.
Allison regarding Plan, Colt Gateway issues.

03/07/07 A Jarvis .20 Correspondence on Effective Date notice.

03/07/07 A Jarvis .80 Correspondence with client on status of e

: Bffective Date readiness, workout of
remaining issues.

03/07/07 A Jarvis .50 Correspondence with working group on issues
under Plan and 1142 order that needs to be
done on or prior to Effective Date.

03/07/07 A Jarvis .40 Correspondence regarding servicing issues ~
under plan.

03/07/07 A Jarvis .50 Correspondence on notice of effective date
and comments regarding same.

03/08/07 P Hunt .30 Check docket in LPG appeal regarding status/LPG

reply brief (.1); email to A. W. Jarvis
regarding LPG reply brief (.1); analyze J.
Chubb client issues in LPG reply brief (.1);
conference with J. McPherson regarding Bunch
appeal issues (.1); review email from 5.
Freeman and attachments and respond to same
regarding Bunch appeal (.1); email to A. W.
Jarvis regarding notice of Effective Date
issues (.2); read Notice of Effective Date
(.9); correspondence with S. Freeman regarding
same (.1); comment on Effective Date notice at
request of S. Freeman (1.1); revise Notice of
Effective Date to incorporate facts for all
Debtors, not just USA Commercial Mortgage, to

Client No. 34585

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Debtor USA Commercial Mortgage Co., et al. April 10, 2007

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Jarvis

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Jarvis .

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simplify as requested by court and correct plan
provisions. (2.3); email correspondence with A.
W. Jarvis regarding appeal issues and Notice of
Effective Date (.2).

Review and comment on Effective Date Notice
and correspondence with P. Hunt regarding
same .

Conference with L. Weese and S. Smith
regarding finalization of numbers for
distributions under plan.

Review of effective date transfer schedule
and correspondence with S. Smith regarding
same. ‘

Correspondence on new LPG motion for stay
pending appeal.

Review draft of proposed notice of
confirmation (0.2); confer with P. Hunt
regarding same (0.2); telephone conference
with attorney M. Taylor regarding his
clients questions concerning plan effective
date (0.1).

Review new motion for stay pending appeal filed
by LPG in District Court (0.4); review docket
regarding same (0.1).

Review A. W. Jarvis’ proposed transition
memorandum to R. Charles (.3); correspondence
with local counsel regarding appeal/LPG
transcripts (.1); analysis regarding Notice of
Bffective Date issues (.4); review A. W. Jarvis
changes to Effective Date notice (.1); further
revisions to Effective Date notice to fix
incorrect ADR description and further simplify
(.6); email to S. Freeman regarding same (.1);
research executory contracts claim bar date
issues as requested by S. Freeman and E..
Karasik (.4); email to Committee counsel
regarding same (.1); read email from Committee
counsel on Notice of Effective Date (.1); join
conference call with Committee counsel ,
regarding appeals (.3).

Client
Debtor

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Case 06-10725-gqwz

No.

A Jarvis
A Jarvis

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Page: 7
et al.

Correspondence with client on effective date
transfers.

Draft memo to R. Charles regarding effective
date responsibilities.

Review and analysis of effective date notice.

Correspondence with client on effective date
transfers.

Correspondence with committees on effective
date transfers.

Conference with committees regarding
effective date transfers.

Conference call with committees and debtors
regarding plan effective date and new motion
for stay pending appeal (.4).

Review email from S. Smith regarding reserves

and estimates of administrative expenses needed

for Plan Effective Date distributions (0.1);
analysis of reserves and estimates (0.6);
emails to S. Smith regarding same (0.2).

Update analysis and Bunch appeal binder.
Correspondence on effective date transfers.

Correspondence with client on effective date
transfers.

Correspondence on finalizing notice of
effective date.

Conference call with Committees regarding
effective date transfers.

Edit notice: of Bffective Date with Committee
comments and redline same (.4); email to
Committee counsel regarding revised Notice of
Bffective Date (.2); check appeal docket
regarding LPG appeal and LPG website/check

April 10, 2007

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Debtor USA Commercial Mortgage Co., et al. April 10, 2007

deadlines and activity (.2); review
correspondence by Committee counsel regarding
Effective Date issues (.1); read correspondence
from E. Karasik and S. Freeman regarding Notice
‘of Effective Date (.1); notice to Compass
regarding effective date (.1); email to E.
Karasik and S. Freeman regarding post Effective
Date notice issues (.3); read emails from DTDF
Committee on Notice of Effective Date and
respond to same (.1); email to S. Smith
regarding post Effective Date contact
information (.1); research of post Effective
Date service issues (.3); email to EH. Karasik
and S. Freeman regarding same (.2);
correspondence with Committee counsel regarding
BEfective Date and stay pending appeal issues

(.5).

03/12/07 A Jarvis .40 Review e-mails and respond regarding
effective date.

03/12/07 A Jarvis .30 Review e-mails regarding notice of effective
date.
03/12/07 A Jarvis .30 Review e-mails regarding LPG appeal.
. 03/12/07 A Jarvis .10 Correspondence regarding notice of litigation

for Compass.
03/12/07 S Strong .40 Review issues concerning Notice of Effective

Date and post-effective date service lists and
obligations (0.4).

TOTAL FOR LEGAL SERVICES RENDERED $18,696.50

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STATEMENT OF ACCOUNT
RAY QUINNEY & NEBEKER

A PROFESSIONAL CORFORATION
ATTORNEYS AT LAW
POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road April 10, 2007
Las Vegas, NV 89121 Invoice No. 360306

For Legal Services Rendered Through March 12, 2007
Thomas J. Allison
Matter No. 34585-00015

Travel Time

03/01/07 P Hunt 5.50 Travel from Las Vegas to Salt Lake City
(Flight: Delayed) (5.5).
03/01/07 A Jarvis 5.50 Travel from Las Vegas to Salt Lake City
, (delayed flight).
03/08/07 A Jarvis 2.50 Travel from Salt Lake City to Las Vegas for
meetings with Diamond McCarthy.
03/08/07 A Jarvis 3.50 Travel from Las Vegas to Salt Lake City after
meetings.
03/11/07 A Jarvis 3.50 Travel to Las Vegas for deposition.
03/12/07 A Jarvis .80 Travel to deposition.
03/12/07 A Jarvis .50 Travel after deposition.

TOTAL FOR LEGAL SERVICES RENDERED . $3,799.25

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STATEMENT OF ACCOUNT

“ RAY QUINNEY & NEBEKER

A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road April 10, 2007
Las Vegas, NV 89121 . Invoice No. 360307

For Legal Services Rendered Through March 12, 2007

Thomas J. Allison

Matter No. 34585-00017

Regulatory Matters

03/05/07 M Pugsley 4.70 Telephone conference with L. Dean regarding

status and other issues (.7); correspondence
with clients regarding Oak Mesa issues (.5);
review documents produced to government

(3.0); work with scanning company (.5).

03/06/07 M Pugsley 2.70 Review documents to be produced to government

(2.7).
03/07/07 M Pugsley 2.00 Review documents produced to government.

TOTAL FOR LEGAL SERVICES RENDERED $2,538.00

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STATEMENT OF ACCOUNT

RAY QUINNEY & NEBEKER
A PROFESSIONAL CORPORATION
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POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road April 10, 2007
Las Vegas, NV 89121 , Invoice No. 360310

For Legal Services Rendered Through March 12, 2007
Thomas J. Allison

Matter No. 34585-00029

Sub-Servicing (Compass)

03/07/07 S Strong 2.20 Telephone conference with J. Reed and R. Koe
regarding sub-servicing issues raised by
Compass concerning use of collection account
(0.3); telephone conference with Compass
lawyer G. Bradley regarding Compasss views
on same (0.7); further research of legal
issues raised by Compass regarding mortgage
broker and escrow agent statutes (0.7);
telephone conference with J. Reed regarding
same (0.2); email to J. Reed, T. Allison and
A. W. Jarvis regarding same (0.3).

03/08/07 A Jarvis .50 Conference call with Mesirow regarding
subservicing issues.

03/08/07 S Strong .70 Participate in telephone conference with R.
Koe, S. Smith, J. Reed, N. Peterman and A. W.
Jarvis regarding sub-servicing issues raised
by Compass (0.6); voice message to G. Bradley
regarding same (0.1).

03/09/07 S Strong .40 Further research of Nevada statutes and

regulations regarding loan servicing issues
raised by Compass (.4).

TOTAL FOR LEGAL SERVICES RENDERED $1,125.50

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STATEMENT OF ACCOUNT

RAY QUINNEY & NEBEKER

A PROFESSIONAL CORPORATION
ATTORNEYS AT LAW
POST OFFICE BOX 45385
SALT LAKE CITY, UTAH 84145-0385
TELEPHONE (801) 532-1500
’ FACSIMILE NO. (801) 532-7543
FEDERAL TAX ID NO. XX-XXXXXXX

Debtor USA Commercial Mortgage Co., et al.
Thomas J. Allison 4484 South Pecos Road
Las Vegas, NV 89121

For Legal Services Rendered Through April 10, 2007

Thomas

J. Allison

Matter No. 34585-00014

Costs

‘Costs Advanced:

03/27/07
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Copying Expense (outside office) - - Bridge
City Legal

Copying Expense ‘(outside office) - - Bridge
City Legal

Copy of Transcript - - Cline Transcription
Air Fare - - American Express

Air Fare - - American Express

Air Fare - - Bankcard Center

Air Fare ~ - Bankcard Center

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April 10, 2007
Invoice No. 360320

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Client No. 34585 Page: 2
Debtor USA Commercial Mortgage Co., et al. April 10, 2007
03/08/07 Air Fare - - Bankcard Center 29.00
03/08/07 Air Fare - - Bankcard Center 189.90
03/08/07 Air Fare - - Bankcard Center 189.90
03/08/07 Air Fare - - Bankcard Center 29.00
03/08/07 Air Fare - - Bankcard Center 29.00
03/08/07 Air Fare - - Bankcard Center 159.90
03/08/07 Air Fare - - Bankcard Center 159.90
03/08/07 Air Fare - - Bankcard Center 896.29
03/08/07 Air Fare - - Bankcard Center 29.00
03/08/07 Air Fare - - Bankcard Center 131.40
03/08/07 Air Fare - - Bankcard Center 252.30
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04/03/07 Air Fare - - Bankcard Center 131.40
04/03/07 Air Fare - - Bankcard Center 420.41
04/03/07 Air Fare - - Bankcard Center 244.99
04/03/07 Air Fare - - Bankcard Center 270.90
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03/07/07 Travel Expense - - Annette W. Jarvis 929.34

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Client
Debtor

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No. 34585
USA Commercial

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Mortgage Co., et al.

- - Annette W. Jarvis
-~ - Douglas M. Monson
- - Elaine A. Monson
- - Elaine A. Monson
- ~ Steven C. Strong
- - Steven C. Strong
- - Peggy Hunt

- ~ Peggy Hunt

- - Peggy Hunt

- - Peggy Hunt

- - Peggy Hunt

- - Annette W. Jarvis
- - Annette W. Jarvis
- - Annette W. Jarvis
- - Mark W. Pugsley

Federal Express Charges
Long Distance Telephone Charges

Postage

Database Legal Research

Copying Expense

Business Meal (s)

TOTAL COSTS ADVANCED

Page:

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April 10, 2007

$33,343.23

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p60rZ81 Lei -- sefieyo euoydeje) sougysiq Buoy | PLO eo's9z$ eglzvl § LO/LO/E0 sAre[
e607281 Ley -- sabieyp suoydejs| eourjsiq Buoy | 710 868914 esZzrL = LOVLO/EO sre[
Z60PZE1 Leiy-- seBieyo suoydaje, souejsiq Buoy 1 PLO Ly’ezps eglzrt  —- LO/LO/EO sAlel
L60P281 Leiv -- seBieyo euoydejs, soueysiq fuo7 1 vLO ge ess eeltrl LO/LO/E0 svrel
0607281 Teiv--seBieyo suoydajes souejsiq Suo7 1 vLO L6E6 L$ esizr>  —- LO/LO/EO saref
6807281 1giy--safieyo suoydeja) sourjsiq Buoy 4 v0 90° Lez eglzylL  LO/LO/EO sArel
B80PZ8L Leiy -- sefieyo suoydeja) souejsiq Guo7 | vLO €8'e/$ egszyl LOVE O/EO sAef
L807281 Lely ~~ sebireyo euoydeje) souejsiq Buol | v0 OB Leos eader: LO/L0/E0 sAre[
€80PZ81 1giv ~~ seBreyo euoydejs, souejsiq Buo7 |} PLO OL’ oLZ$ egZzre ZO/LO/E0 saief
6820881 Sq21 WqIUXa go 620 00'0$ 20/82/20 saref
O€L6281 sebieyo sseidxg jeiepey | €L0 o6’eL$ 20/ZZ/Z0 sAref
6e8eZ8L sabieyo sseidxg jelepej | eL0 O6'EL$ 20/2/20 sjef
OvesZal seGieyo sseidxg jeiepey | €L0 9L'02$ 20/61/20 sAie[
# Xapul] PSoueApy Sj]SOQ Jo uondiiosaq Aueny apos yUNOLIY }S05 # Y98yO syed Aauiony
YSELASOD .
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PLOOO-S8Sre ~eqUNN Jepeyy
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ZO89Z81 meysey, | BLO LL'Z60'LS$ ysuny

LOB9/81L Mensa | 6L0 OF'eZL$ LO/90/E0 yuny
oO g0e08el Sqel wqluXa 9 620 00'0$ LO/SO/E0 salef
= vOE0ssl Sqel wqlUXa g 620 00°0$ LOISO/E0 sarel
a pOZBLEL _ sefreyo sseidxy jeiepey | E10 So'eL$ LO/SO/E0 saref
9S ZOLOZ8L abeysod | 9L0 072 LO/S0/E0 salef
2 OZOSL8}. VIOIMLWd NAAONE 2OS0e0 esuedxy Buiddop 1¢ 790 oz'9$ LO/SO/E0 ugbi
QO. 98SrZ8l AMYVD LSYNH, Z0S0E0 esuedxy BulAdog Z 790 or'o$ 20/90/80 ugbi
co SesrZel VIOIMLVd NMOW 20S0¢0.esuedxy Bulkdop Z 790 or'o$ ZO/SO/E0 urgb
° pESrZel VIOLVd NMONE Z0g0¢0 esuedxy BulAdog 967 790 0e'Lr$ ZO/SO/E0 wpb
o SSerZel uonduosuel| SulO -~}dyosuel) yo Adop 4 820 oe'vess 6622rL =: LO/S0/E0 sarel
4 9816281 sefieyo sseidxg jeispey |  €L0 aL Lys L0/Z0/€0 saref
o OSOLL81- esuedxy Bulkdop € 790 o9'o$ 20/Z0/€0 sare[
a 6089281 MERSONA | BLO 60°822$ LO/ZO/E0 osuowl
z 6LOS/8L FIMYVO LSYNH 2Oz0e0 esusdxy HulAdop OLS v90 00°Z0L$ LO/ZO/EO ugbi
3 8109281 VIOI.LWd NMOUE 202080 esusdxy Bulddog z 790 or'0$ 20/20/80 ugbi
D LLOGZ81 WIDINLWd NMOYE Z0z0e0 esuedxy BulAdog ¢ 790 09'0$ LO/ZO/E0 ugbs
© QLOSZ81. WIOMLWd NMAONG 20Z0E0 esuedxy Bulldog 1 790 oz'o$ LO/ZO/EO ugbi

pOrrlsl FIMYVO LSHNH 2oz0e0 esuedxy BulAdop Z v90 or'0$ LO/ZO/E0 urgbi
tT SIMYVO LSYNH
N E9PP/8L 09 SL:SL AN VOSA SV’ 0909028202 SeBieyo suoydeje, eourjsiq] Buo7 | vL0 80'0$ LO/ZO/EO ugbs
© CPerZel ssaidxy UboLeWy -- ele dy | LLL OL'SZ$- gelzr- LO/ZO/E0 sale[
S ZrEPLel sseldxy UBOHeWly -- aey dy | LLL oz'ee$ g6lzrL  LO/Z0/E0 sMef
a BYOLLBL asusdxy Surddog Z 790 or'o$ LOM-O/E0 salel
N yOS9Z8l MeRsSEM | 6L0 p0'ers LO/-0/E0 1}}04
= L698} Mensa | 610 ge'ese$ LO/L0/€0 saef
w 66LPLEL VIOLWd NMOWd 20L0E0 esuedxg BulAdop Z v90 or'o$ LO/LO/E0 ugbi
tS L60rZ81 giv -- seBieyo suoydeje; souejsiq Buoy | vL0 Or'26$ egizpL  ——- LO/LO/EO silef
a 9607281 Leiy -- sefieyo euoydejal souejsiq Buoy | vLO Os LLLS ee/zrL = LOL O/EO saref
oO G60rZ81- Lei -- sefieyo suoydaje) sourjsiq Buoy | vLO Ze LZps eglzrl LO/LO/ED spl
® # Xepu] PaouUeApy s}S05D Jo uondiusseg Ayqueny epoy jyuNnoUuly JsoS # Y98YD sjyeq Asuloyny
5 __ ‘ , YySELASOD _

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erZSZ9l Jejueg pueoyueg -- Ie4 diy | LLL Or LELS$ 6L8trL —- LO/BO/E0 sArel
ZreSZel Jajueg pizoyueg -- ees wy Lb 00°6z$ 6L8zrl —- LO/BO/EO sarel
LyZGlel Jajusg pieoyueg -- aie Jy | LLL oe Les 628crl —- 0/80/80 sArel .
OpzSZ81 Jajued pieoyueg -- wey dy | LLL OL-o8s 628zrl  —- LO/BO/E0 salel
BETZSZ8I. Ja]U89 PIBOyUeg -- Bey dy | Lb 6z 0ze$ BlezrL ©—s- LO/O/E0 sAref
BETSZBL Jojueg pieoyueg -- eed uly | LLL B0'r8c$ B£8crl  —- LO/BO/E0 svle[
LEzS29} Jeyue9 preoyueg -- GiBy lly | Lb} 00°0s$ 618zrb =: L0/B0/E0 sel
L@ZSL91 SPM “C juelg - - (s)/ee| Ssoulsng | ply 28°8¢ goszrL =: LO/B0/E0 salef
9279281 Buoys “5 uanalg - - (sea, Sseulsng | ply ZL'8$ e99zrl  —s- L0/80/E0 sAref
SzzSZ8l Buoys *D UsAa}s - - BsuUSdXs [SAPIL | BLL LS LOzS e9szrl Z0/80/E0 sale!
vezal8l Buoys “9 usaais - - (sea Sseulsng | bly op'ees e98zrl ZO/80/E0 saef
ezzgZel Buoys “Sd ueAa}s - - esuedxy jeAeLL | BLL L8°SL rs eoszrl LO/80/E0 sArel
E7Z6L91 seBibyo sseidxy jeiepej | EL v6'ee$ LO/LO/E0 sael
G8LSZ8l NONNVHS LSINO 202080 esuedxy Bulkdop Zz 790 og’ r$ 20/Z0/£0 wpb
pBLSZEL FIMYVO LSYNH 202080 esuedxy BulAdop ¢ 790 09'0$ Z0/L0/€0 ugbi
B0L7281 ‘uosuoW “y eule|y - - (s)eeyy ssoulsng | vy oL'ss$ LsezrlL =: LO/Z0/E0 sail
B0LPZ81 UOSUOW| “y Suey - - esuadxs jeAeIL | BLL Beeb Zs bSezrl = 20/20/80 sAlel
LOLPLBL UOSuO| ‘y Surely - - (s)|ea] ssouisng | ply Sb bes LSezprl . LO/ZO/E0 sail
Q0LPZ81 UOSLOW “YY Sule[y - - esusdxy jeAEIL | SLL Zy'099$ LsezrlL —- LO/ZO/E0 siief
GOLPL8L UOSLOW ‘| Se[5nog - - esuedxg jsABLL | BLL SELLE osezrl  — ZO/Z0/E0 sAle[
L69r281 ser “AA eyeuuy - - (s)/eay] sseuisng | ply Lo'6es Specrl LO/LO/E0 sarel
9697281 SIMEP ‘AA Youu - - esuedxy JeACIL aLL ro'oses SpezrL 2O/Z0/e0 saref
S69rZ81 ser \\ eyeuuy -- esuedxy JaABlL | BLL ve'ezes Spezrl  —- LO/ZO/E0 sill
SPOLZ81 asuadxg BulAdop 912 790 02 ers 20/90/€0 sAref
20291 asuadxy BuAdop 1 790 0z'0$ _ 20/90/E0 svrel
9POLLE} asuedxg BulAdop 1 790 0z'0$ 20/90/€0 sarel
GrOLZ8} asuadxg Bulkdog ¢ 790 00'L$ 20/90/£0 saref
ZPOLLEL asuedxy BulAdop 1 790 0z'0$ 20/90/€0 sArel
LPOLL9} asuadxg BulAdop Z 790 Or'o$ 20/90/€0 sAlef
OvOLZ81 esuedxy Buikdop 0} 790 00°z$ LO/90/E0 sail
#} XOpPu] PaSUBAPY S}SOD jo uopndiosagq AQueny apog vUNOLWY JSOD # 498ND ayeq Asusoyny
YSELASOD

192628} sebieyo sseidxg jejepe4 | €L0 £9°6$ 20/80/€0 sAief

99Z6L81 sebieyo sseidxg jelepsy | €L0 96'a¢ 20/80/20 sare!
oO LyZ6L81 sabieyo sseidxg jeispej | €10 BEZEL 20/80/€0 sAje[
N SSOZZ81 asuedxy BulAdod 0} 790 00'%$ 20/80/20 sAief
S PSOLZ81 asuedxy BulAdop 9} 790 og'es$ LO/80/20 sAref
N G1ZSL81 _JejUaQ Pleoyueg - - ed ily | LLL 06'681-$- 6Zezyl  —- LO/BO/EO saref
& pl2Glel JajUaQ PIBoyueg -- AB{ IN | LEE 06°681$-. BZezrL =: LO/BO/E0 sviel
& ZL2GZ81 Jeyueg preoyueg -- alej diy | LLL Or’ LeLs 6lezrL  —- 20/80/E0 sAlel
© LL@S281 Jajuad pieoyueg -- aed diy | LLL os zszs BL8z7L  —- ZO/BO/ED sAel
2 OLZSL91 Jayueg pizoyueg -- aed dy | LLL OF LELS BL8zrL =: LO/BO/ED saref
wm 69ZS281 Ja]USO PIeOyueg -- aes ay | bbb 00°6z$ 628zrl  —- LO/BO/ED sAlel
S g9ZSZ91 Jejusd pieoyueg -> ale dy | LLL 8298S B28zrL ZO/80/e0 sAref
SS 1929281 Jajuag pleoyueg -- Ue{ IN | LLL 06°6S1-$ 6L8z7L  ——- LO/BO/EO sal
S 99ZS281 Jejusg pueoyueg -- sieqiiy | LLL 06°6S1$ 6lez@rL  — LO/B0/E0 sAief
+ pOZGL8l Jayusg preoyueg -- sjej iy | LbL 00°6z$ BZgcrL  — ZO/80/E0 sAle[
cS €9ZS/9} Jajueg pieoyueg -- ees ay | LbL 00°6z$ 6Z8crL —«- LO/BO/E0 saref
© Z9ZSLBI. JajUsQ pleoyueg -- ae4 iy | LL 06'68L$ BZ8zrL =: 0/80/20 sAle[
£ L9ZSZEL Jajueg pleoyueg -- aed Jy | LLL 06'68t$ BLezrPL —- LO/BO/E0 sAlef
tH 0929281 Jejueg preoyueg -- S184 dy | bbb oo’ezs B28zrl  — ZO/80/E0 sarel
t BSZSZ8L Jajusg pleoyueg -- ale4 tiy | LLL 00°6z$ 6lezrL  — LO/BO/E0 saref
oO gSZ9281 Jayuag pleoyueg -- SBS y | LLL 00'62$ BL8zrL LO/BO/EO . saief
o LSZS281 Jajuag pleoyueg -- ae diy | LEL 00'6z$ B18zrL  LO/B0/E0 sare!
5 9SZSZ81 JayWeO PIBOyUe -- Bed II | LLL 00'6e$ 6L8crlL  —- LO/BO/EO sal
a SSzSZel Jajuag piBoyueg -- ejay | LLL 08° LOr$ 628zrL  —- LO/80/E0 sAref
N vSzgZel Jejusg pioyueg -- sed diy | bbb 00°6z$ 6L8ZrL =: ZO/B0/E0 svef
2 7SZSL81 JO]USD pleoyueg - - Sie y | LLL 66°89z$ B18crL  —- LO/BO/E0 sAref
10 LSZSZ81 Jequed pieoyueg -- siey dy | LLL 00's0es 6Z8crL- LO/BO/EO sAlef
S OSZSZ81 JOJUSO PIBOyue -- SBA UN | LE} oe Lzes 6Lecrl  LO/BO/E0 saref
rl 8PZSZ8L Jejueg pueoyueg -- aed diy | Lb 6e's9z$ 6L8zrL LO/BO/E0 sAief
O pr7ZSlel JeyueD pleoyueg -- a1e4 diy | LLL 00°62 6Z8z7l  —- LO/BO/E0 sAre[
8 # XOpu] PSBSUBAPY SISO jo uondiiosac Ayquent Sela 505 qyunowy jsop #YVAYO : ajyeqd Kausoyyy .

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7928291 Lgiy -- seBieyo suoydeje, sourjsiq Buoy | 7L0 Le°SoLs LZoervL  — ZO/8z/e0 sAiel
€S8281 Lely ~~ sebreyo auoydeja, sourysiq Buoy 1 PLO ZL 692$ LZoerL Zo/ez/eo sAref
ZGLBL81 Lei -- seBieyo auoydeje, sourjsiq Suo7 4 vLO Bo LSrs LZoervL  ZO/8Z/E0 saref
LS28281 Lai ~- seBreyo suoydeye, souejsiq Buo7 1 vLO LG'ESL$ LZ0eri  Lo/ez/e0 sale[
yrosZel ‘O'T1 sealegeyed - - (sayjo apis}na) asuedxy BulAdop 1 $90 00'0$ Z60erl  — LO/AZ/E0 sAlef
OzO8ZeL jay Ayo eBpug - - (Soyo apis}jno) esuadxy BujAdog 1 S90 62'906'L$ eg0erL LO/ZZ/E0 sArel
6LO8Z8L je6e7 Alo aBpiig - ~ (Boy apis}no) esuedxy BuyAdog | G90 9606's gederl  —- LO/ZZ/E0 sael
zoeosel SEL wqYXy 0g 620 00'0$ LO/SZ/E0 svef
OS6ZZ8} Aas6nd ‘MeN - - (Slee Ssauisng 1- ply zo'0es evoOerl LO/E7Z/E0 saef
BPBLLE} AasBnd “AA We - - esuadxg JeAeIL | SbL gL2ee$ eroerl LO/EZ/E0 saref
SEBLLEL SIMeP "(\\ Syouuy - - esuedxy jevelL | BbL ge e6c$ esoerL Zo/ez/eo satel
2862281 slaep “\\ ayjeuuy - - (s)/Bay sseuisng | ply 19°22 eeoerl LO/Ez/e0 sAlel
QEBLZE1 sleep M eyeuuy - - esuedxg feABlL | BLL 00'sz$ eeoerl . LO/Ez/eo salef
GEBZL8L SIMIEP ‘\\ syouuy - - (sea) ssoulsng: | Ply . LL'e8$ esoerl LO/Ez/e0 sArel
PEBLLEL sialep ‘(A ayeuuly - - esuadxy OAR L BLL rr'oves ecoerL LO/Ez/E0 sve
Of6ZZ81 jun} ABBe, - - esuedxg JeAelL | BLL Le'6ZEs$ LecerL zLO/Ez/e0 SMe
6262281 jun} ABBad - - (s)jeey ssdujsng. | ply 69°0r$ Leoey. LO/EZ/ED sel
BZ6ZL81 juny AbBeq - - (s)eayy ssoulsng | ply LESLS Leoerl LO/EZ/EO sAlef
2261181 yun} ABBieg - - esuedxy jaAelL | BLL Lo'S6z$ Leoere LO/Ez/e0 SAlef
9262281 jun} ABB, - - (s)|Be sseulsng | vlp 6r' brs Leder LO/Ez/e0 svlel
GZ62281 jun} ABBeq - - esuedxy jeAelL | SbL ge°s61$ Leoerl LO/Ez/E0 sAlef
PZBLLBL juny ABBag - - (s)jeayy sseulsng | ply eb 'ces$ Leoerl LO/Ez/e0 siel
EZ6LL81 juny ABBeg - - esuedxa jenelL | BLL Leeocs LeoereL ZO/ez/eo sAlel
2CBLLB1 juny ABBed - - (s)jee| sseulsng | bly LeLb$ beoerL  — LO/EZ/EO sel
LZ6L281 quny ABBeq - - esuedxy OAR, | BLL LB LL9$ LeOerlL LOVEZ/EO salef ©
PZO9L81 NSASLS SNOYLS 20Z/€0 ssuedxy Buikdop 2 790 O”'LS LO/ZL/EO webi
9SOLZ81 asuedxg BuyAdop 1 790 oz'o$ ZO/60/0 sAef
OLZ6281 seBieyo sseidxq jeleped | E10 98°9$ _ 20/80/80 salef
B9ZBL81- sefieyo sseidxg jelapeg | eL0 CB'LES 20/80/20 sal
8976281 sebieyo sseidxy jesepej | €L0 go°e$ Z0/80/€0 salef
# XSpl PSoUeAPY $}S809 Jo uondposeq AQuend apoy yuNoUly }S05 # YO8YD ajyed Aauioyy
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Ja]Ua9 pieoyueg - - ale4 ily

PrPLest | LbL og cor LezereL  ZO/OL/r0 - Sarel
L¥Z08el ASUS Preoyueg -- SIB4 dy | LLL Ov'LELS- BOLErL ZO/E0/P0 svlef
OPZ0881 Je]UeD Pleoyueg -- ley dy | LLL OF’ LELS- B9LErL  —- LO/ED/P0 sarel
SyZOgeL Jajus9 pieoyueg -- ales ay | LLL 66'LLLS- BSLerL ZO/E0/F0 saef
prcosel Ja]U8D pPIeOyueg -- ey | LLL 66 LLLS- 69LEr. — LO/E0/r0 svrel
SrZ088L JajUueD pseoyueg -- aes lly | LLL 06091 B9LErL LO/ED/F0 sAref
ZrZ0881 JOJUSD PrBoyueg - - a1ey Uy | bbl oe 'e6z$ BOLerL  LO/E0/0 shel
LpZ0gel JajU8D pseoyue -- BIB{ uy | Lb oe e6z7$ 69LerL LO/E0/"0 sAref
Ovz0881 Jajueg pueoyueg -- SIB4 Jy | LLL oe'e6z$ 69LEvL  — LO/E0/F0 saref
BEZOSSL Jeuag pieoyueg -- sey dy 4 LbE oe'e6z$ 69LErvL LO/E0/F0 saef
BEzZOR8L Jajue pleoyueg -- alej iy | LLL 62’ eLSs$ 69LErlL  — LO/EO/F0 svref
ZEZO88L Ja}]USD PIBoyueg -- Beja | LLL 06'0Zz$ BOLE LO/E0/r0 sief
9EzOSEL Jaap. pleoyueg -- aes dy | LLL 66 pres 69LEr- ZO/E0/70 sAief
SEzOBEL Jeep pleoyueg -- aed dy | Lbb LrOrs BOLErL —-ZO/E0/%0 sael
veZO881 Jaap pleoyueg -- aed dy | LLL Or LeLs 69LErl ZO/E0/r0 saref
SETOSSL Jajued pleoyueg -- aed uy | LLL 62 LESS 69LErL  — LO/ED/P0 sAlef
ZEzOBSI Jajuad pleoyueg -- sey ity | LLL 06'69z$ BOLErL LO/EO/70 sarel
LEzogel JaqueD pieoyueg ~~ aejuNy | LLL 6a LESS B9LErL  — LO/EO/V0 svel
OezogeL Jaqueg pleoyueg -- ele4 Jy | LLL 6b LSS 69LE7L  — LO/EO/F0 salel
62zOssL Jayueg pleoyueg -- ele Uy | LLL 06'69L$ B9LErL  — ZO/E0/V0 svref
yezOselL  d9qU8D PleOyUIeg -- eued Ay | LLL os'vezs 69LErL ZO/E0/r0 sAef
LZz0gel J9JUaQ pPreoyueg -- SIB4 Ny | LLL oo'esz$ 69LErvL LO/E0/r0 sAlef
Ozz0gsl Jajusd pleoyueg -- sed Ny | Lb} Lo‘eec$ 69LervL ZO/E0/70 sArel
LOZ8281 Lely -- sefieyo euoydeje) sourjsiq: Buc 1 vLO Ze 821 L20erl  LO/87z/E0 saref
0928281 Lely -- sebreyo suoydeje) soueisiq Bucy | PLO 19° Lys LL0erL Lo/ez/eo sArel
6928281 Lely -- safieyo euoydeje) souejsiq Buo7 1 PLO L1°86$ LLoerl  2o/ez/eo sael .
8528281 Lely -- sebieyo suoydaje; souejsiq Buoy 1 vO ze'rss LZ0erl  2o/ez/e0 svel
2518/81 Lely -- sabireyp suoydeje) soueysiq Buoy 1 PLO 6S 'zor$ LLoevL  Lo/ez/eo saref
9928281 Lei -- seBreyo euoydeje) sourjsiq 6u07 |, PLO ee'29z$ Lloegr. Zo/ez/e0 salel
SSZ8281 Ley -- sebireyo suoydaje) souejysiq Buo7 1 PLO 66'OLE$ LL0erl 2o/ez/e0 sAref
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Bor LBel Ja]USD PIBONURG -~ Bey dy | LLL 00°62$ LEZevL —- LO/OL/P0 sAief
ZOPL88L J9UaD PABOHUE, -- ale IN | LbL 00°62$ Lecerl 20/01/70 SAle[
SOVL8el JayUeD PIPOYURG -- B12 dy | LLL OP'ZELS LEZePrL Z0/0 1/70 satel
 pOPLESL AB}UBD PIBOYURG -- sie dy | LLL 00°62$ LecerL 20/01/70 sAlef
OOP L8BL Jeu PIBOYUBG -- ales iy | LEL 62° 9L8$ LEcEerL 20/01/70 sAlef
CoP LSet J]USD PIBOIUBG ~- Bey dy | LLL OB LELS LEcerL ZO/0L/70 SAle[
bSVLOSL JUS PIEOYUBY -- SIE I | LLL 00°6z$ LECEPL Z0/0 1/70 sAlef
OSPLSSL ARIUS] PIBQYUBG -- O12] dy | - LLL 00°6z$ LEcerl 20/0 b/70 sie
BPP L8BL JajUaD PIEO UR, -- ales iy | LbL 00°62$ LEcerL LZO/OL/70 sAlef
BYVLSBt J8}USD PIBOYUE, ~~ alB4 IN | LEE 00°68 L$ Lecerl 20/04/70 sAlef
SPPL8el JQ}USD PIBOYUEG - - BIB INL bEL Of’ E0r$ LEecerl Z0/0L/v0 satel
#Xapul paoueApy sjsop jo uondiosaq Ayjueny spoo yunowly json = # yDaYO ayeq Aaus0yyy
YSeLASog

